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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
STACEY L. SCHMADER, et al.,               :    Civil No. 1:20-CV-00067
                                          :
             Plaintiffs,                  :
                                          :
             v.                           :
                                          :
THOMAS ALAN LINZEY, et al.,               :
                                          :
             Defendants.                  :    Judge Jennifer P. Wilson

                                      ORDER
      AND NOW, on this 22nd day of January, 2020, pursuant to the status

conference conducted on January 22, 2020, IT IS ORDERED that this case is

referred to United States Magistrate Judge Martin C. Carlson for purposes of

conducting a settlement conference. The settlement conference shall pertain to the

Plaintiffs’ motion for a temporary restraining order and any related issues arising

from Plaintiffs’ request to preserve the status quo. (See Doc. 7.)

                                       s/Jennifer P. Wilson
                                       JENNIFER P. WILSON
                                       United States District Court Judge
                                       Middle District of Pennsylvania
